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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW HAMPSHIRE


Paul Blackmer

          v.
                                              Civil No. 13-cv-532-LM
Robert McGrath, et al.



                                O R D E R



      On February 17, 2014, the court issued an order approving the

Report and Recommendation dated January 15, 2014 and the Order on

Reconsideration of Report and Recommendation dated January 29, 2014,

by Magistrate Judge Daniel J. Lynch.

      Plaintiff was given thirty days to pay the filing fee in full

or the case would be dismissed. Plaintiff has not paid the filing

fee as ordered.     Therefore, it is herewith ordered that the case is

dismissed, without prejudice.       The Clerk of Court shall close the

case.


      SO ORDERED.

                                        ____________________________
                                        Landya B. McCafferty
                                        United States District Judge


Date: March 21, 2014

cc:   Paul Blackmer
